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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

                        Plaintiff,

                        v.                           Case No. 1:21-cr-00040 (TNM)

 CHRISTOPHER QUAGLIN,

                        Defendant.


                                             ORDER

       The Government asks the Court to lift the order delaying the Defendant’s transport from

New Jersey to the District of Columbia. See ECF No. 61. For the reasons stated by the Court

during the Status Conference on August 5, 2021, the Government’s motion will be granted. The

United States Marshals Service may transport the Defendant to the District of Columbia or to a

nearby facility of the Service’s choosing.

       It is hereby

       ORDERED that the Government’s Motion to Lift Order Delaying Transport to the

District of Columbia is GRANTED.
                                                                            2021.08.30
                                                                            15:47:50 -04'00'
Dated: August 30, 2021                             TREVOR N. McFADDEN
                                                   United States District Judge
